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             IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF OKLAHOMA

   1. FOUR STAR IMPORT AUTOMOTIVE,                          )
      LTD, an Oklahoma Corporation,                         )
                                                            )
                Plaintiff,                                  )
                                                            )
  v.                                                        ) No. 17-CV-124-CVE-FHM
                                                            )
   1. STATE AUTO PROPERTY AND                               )
     CASUALTY INSURANCE COMPANY,                            )
     A Foreign For Profit Insurance Corporation,            )
                                                            )
                Defendant.                                  )

                              DISMISSAL WITH PREJUDICE

         The Plaintiff, Four Star Import Automotive, LTD, by and through its counsel of

  record and pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), hereby dismisses Plaintiff’s claims

  against Defendant in their entirety with prejudice to their refiling.

                Dated this 10th day of April, 2017.


                                                   s/MICHAEL D. MCGREW
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